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                                  VERBATIM TRANSLATION
Li Shaoming     says:
  Dr. MO: Happy New Year!
Li Shaoming     says:
  Have you received the email about US com breeds that I sent you before the Spring Festival?
Li Shaoming     says:
  Now we have made some improvements based on the original list. I am sending you the
  revised document (this email address). Please check and receive!
Li Shaoming sends:



   Open(Alt+P)
Li Shaoming says:
 Please keep us posted about any related matters!
Hailong says:
  Dr.   LI:   Happy Spring Festival!

 You have successfully received C:\Documents and Settinqs\DBMMv Documents\My Received
Flles\Elite US Strains.xls from Li Shaoming.

Li Shaoming     says:
  Good! Very good! Excellent!
Li Shaoming     says:
  Did you see the other messages I sent before?
Hailong says:
  I have received the updated email. This task is top priority. I will try my best to coordinate
  and maneuver......
Hailong says:
  I will communicate with you for advice when I have questions.
Li Shaoming says:
  The seed enterprise army wants to thank you. The breeds on the last sheet in the email I just
  sent you are in the order of high importance to low importance (sorted by number of
  experiments at each location). I will send you the breeds in the US com productivity contests
  in a couple of days. All contest winning breeds are on the priority collection list.
Hailong says:
  Does the red colored portion in the document have special meaning?
Li Shaoming says:
  Red color means the breed has ranked on top five in at least two area tests and is a key breed.
Hailong says:
  ok.




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